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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 CENTER FOR BIOLOGICAL
 DIVERSITY, et al.,
                    Plaintiffs,
                                                           Civil Action No. 1:23-cv-1204-CJN
      v.

 FEDERAL AVIATION
 ADMINISTRATION, et al.,
              Defendants,

      and

 SPACE EXPLORATION
 TECHNOLOGIES CORP.,
              Intervenor-Defendant.



      INTERVENOR-DEFENDANT SPACE EXPLORATION TECHNOLOGIES
         CORP.’S UNOPPOSED MOTION FOR AN EXTENSION OF TIME


       As explained in the parties’ recent joint status report, SpaceX seeks a short extension of

the time it has for filing a reply in support of its motion to dismiss. That reply is now due October

3. SpaceX asks for an extension until October 9. This extension is necessary because of overlap-

ping litigation deadlines in other cases and previously scheduled travel. Plaintiffs do not oppose

SpaceX’s extension request, and Federal Defendants take no position on the request.

       For these reasons, SpaceX asks that the deadline for the reply in support of its motion to

dismiss be extended to October 9, 2024.




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Dated: October 1, 2024                    Respectfully submitted,

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